






Opinion issued February 7, 2008							 

 









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00385-CR

____________


JOSE GUADALUPE CONTRERAS, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 182nd District Court 

Harris County, Texas

Trial Court Cause No. 985806






MEMORANDUM  OPINION

	Because no brief had been filed for appellant, we abated this appeal and
ordered a hearing in the trial court.  Among the issues the trial judge was to consider
was whether appellant desired to prosecute the appeal.  The trial court conducted the
hearing on January 18, 2008, and the supplemental record of that hearing has been
filed in this Court.  At the hearing, appellant stated that he wished to withdraw this
appeal.

	We order the appeal reinstated.  Appellant has not filed a written motion
to withdraw the appeal.  See Tex. R. App. P. 42.2(a).  However, given appellant's
expressed desire to forego pursuit of his appeal, we conclude that good cause exists
to suspend the operation of Rule 42.2(a) in this case in accordance with Rule 2.  See
Tex. R. App. P. 2.  We have not yet issued a decision.  Accordingly, the appeal is
dismissed. 

	The clerk of this Court is directed to issue the mandate.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Jennings and Bland.

Do not publish.  Tex. R. App. P. 47.2(b).


